Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 1 of 42 PageID: 1458




  Exhibit B-V
  Exoo-Rehl Tweets

  Incorporated by reference in FASC at ¶¶ 76, 77, 79, 80, 81




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 1
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 2 of 42 PageID: 1459




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 2
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 3 of 42 PageID: 1460




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 3
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 4 of 42 PageID: 1461




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 4
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 5 of 42 PageID: 1462




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 5
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 6 of 42 PageID: 1463




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 6
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 7 of 42 PageID: 1464




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 7
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 8 of 42 PageID: 1465




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 8
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 9 of 42 PageID: 1466




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 9
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 10 of 42 PageID: 1467




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 10
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 11 of 42 PageID: 1468




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 11
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 12 of 42 PageID: 1469




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 12
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 13 of 42 PageID: 1470




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 13
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 14 of 42 PageID: 1471




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 14
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 15 of 42 PageID: 1472




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 15
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 16 of 42 PageID: 1473




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 16
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 17 of 42 PageID: 1474




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 17
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 18 of 42 PageID: 1475




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 18
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 19 of 42 PageID: 1476




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 19
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 20 of 42 PageID: 1477




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 20
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 21 of 42 PageID: 1478




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 21
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 22 of 42 PageID: 1479




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 22
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 23 of 42 PageID: 1480




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 23
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 24 of 42 PageID: 1481




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 24
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 25 of 42 PageID: 1482




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 25
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 26 of 42 PageID: 1483




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 26
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 27 of 42 PageID: 1484




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 27
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 28 of 42 PageID: 1485




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 28
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 29 of 42 PageID: 1486




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 29
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 30 of 42 PageID: 1487




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 30
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 31 of 42 PageID: 1488




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 31
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 32 of 42 PageID: 1489




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 32
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 33 of 42 PageID: 1490




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 33
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 34 of 42 PageID: 1491




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 34
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 35 of 42 PageID: 1492




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 35
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 36 of 42 PageID: 1493




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 36
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 37 of 42 PageID: 1494




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 37
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 38 of 42 PageID: 1495




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 38
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 39 of 42 PageID: 1496




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 39
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 40 of 42 PageID: 1497




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 40
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 41 of 42 PageID: 1498




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 41
Case 2:20-cv-12880-JMV-JSA Document 79-8 Filed 04/22/21 Page 42 of 42 PageID: 1499




  Exhibit B-V Exoo - Zachary Rehl Tweets                                 Page | 42
